                                 IN THE
                         TENTH COURT OF APPEALS

                                No. 10-15-00066-CV

MCDONALD'S RESTAURANTS OF TEXAS, INC.,
MCDONALD'S USA, LLC, AND MCDONALD'S
CORPORATION,
                                   Appellants
v.

WILLIAM PAUL CRISP, JR. AND J. NICOLE CRISP,
INDIVIDUALLY AND AS REPRESENTATIVES OF
THE ESTATE OF LAUREN BAILEY CRISP AND
DENISE WHITAKER, INDIVIDUALLY AND AS
REPRESENTATIVE OF THE ESTATE OF DENTON
JAMES WARD,
                                        Appellees


                          From the 361st District Court
                              Brazos County, Texas
                        Trial Court No. 12-003034-CV-361


               ORDER OF REFERRAL TO MEDIATION


      The Legislature has provided for the resolution of disputes through alternative

dispute resolution (ADR) procedures. See TEX. CIV. PRAC. &amp; REM. CODE ANN. §§ 154.001-

154.073 (West 2011). The policy behind ADR is stated in the statute: “It is the policy of
this state to encourage the peaceable resolution of disputes . . . and the early settlement

of pending litigation through voluntary settlement procedures.” Id. § 154.002 (West

2011). Mediation is a form of ADR. Mediation is a mandatory but non-binding settlement

conference, conducted with the assistance of a mediator.           Mediation is private,

confidential, and privileged.

       We find that this appeal is appropriate for mediation. See id. § 154.021(a) (West

2011); 10TH TEX. APP. (WACO) LOC. R. 9.

       The Court assigns Deborah Hankinson as the mediator. Her address and phone

number are as follows:

                                750 N. St. Paul, Suite 1800
                                    Dallas, TX 75201
                                     (214) 754-9190

       Mediation must occur within thirty days after the date of this Order.

       No less than seven calendar days before the first scheduled mediation session,

each party must provide the mediator and all other parties with an information sheet

setting forth the party’s positions about the issues that need to be resolved. At or before

the first session, all parties must produce all information necessary for the mediator to

understand the issues presented. The mediator may require any party to supplement the

information required by this Order.

       Named parties must be present during the entire mediation process, and each

party that is not a natural person must be represented by an employee, officer, agent, or



McDonald's v. Crisp                                                                  Page 2
representative with authority to bind the party to settlement.

       Immediately after mediation, the mediator must advise this Court, in writing, only

that the case did or did not settle and the amount of the mediator’s fee paid by each party.

The mediator’s fees will be taxed as costs. Unless the mediator agrees to mediate without

fee, the mediator must negotiate a reasonable fee with the parties, and each side must

each pay one-half of the agreed-upon fee directly to the mediator.

       Failure or refusal to attend the entire mediation as scheduled may result in the

imposition of sanctions, as permitted by law.

       We refer this appeal to mediation.

       The appeal and all appellate deadlines are suspended as of the date of this Order.

The suspension of the appeal is automatically lifted when the mediator’s report to the

Court is received. If the matter is not resolved at mediation, any deadline that began to

run and had not expired by the date of this Order will begin anew as of the date the

mediator’s report to the Court is received. Any document filed by a party after the date

of this Order and prior to the filing of the mediator’s report will be deemed filed on the

same day, but after, the mediator’s report is received.



                                              PER CURIAM

Before Chief Justice Gray,
    Justice Davis, and
    Justice Scoggins
Appeal referred to mediation
Order issued and filed November 16, 2016


McDonald's v. Crisp                                                                   Page 3
